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                  IN THE UNITED STATES BANKRUPTCY COURT
         FOR THE EASTERN DISTRICT OF PENNSYLVANIA (PHILADELPHIA)
 IN RE:
 APRIL R WESCOTT                                          :     BK. No. 20-11258-amc
                                Debtor                    :
                                                          :     Chapter No. 13
 DEUTSCHE BANK NATIONAL TRUST                             :
 COMPANY, AS TRUSTEE FOR MORGAN                           :
 STANLEY HOME EQUITY LOAN TRUST                           :
 SERIES 2006-3                                            :
                     Movant                               :     11 U.S.C. §362
                v.                                        :
 APRIL R WESCOTT                                          :
                     Respondent

 MOTION OF DEUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE FOR
MORGAN STANLEY HOME EQUITY LOAN TRUST SERIES 2006-3 FOR RELIEF FROM
AUTOMATIC STAY UNDER §362 PURSUANT TO BANKRUPTCY PROCEDURE RULE
                               4001

               Movant, by its attorneys, PHELAN HALLINAN DIAMOND & JONES, LLP, hereby

requests a termination of Automatic Stay and leave to foreclose on its mortgage on real property

owned by Debtor, APRIL R WESCOTT.

               1.      Movant is DEUTSCHE BANK NATIONAL TRUST COMPANY, AS

TRUSTEE FOR MORGAN STANLEY HOME EQUITY LOAN TRUST SERIES 2006-3.

               2.      Debtor, APRIL R WESCOTT, is the owner of the premises located at 428

LAUREL RD, LANSDOWNE, PA 19050, hereinafter known as the mortgaged premises.

               3.      Movant is the holder of a mortgage on the mortgaged premises.

               4.      Debtor's failure to tender monthly payments in a manner consistent with the

terms of the Mortgage and Note result in a lack of adequate protection.

               5.      Movant instituted foreclosure proceedings on the mortgage because of Debtor's

failure to make the monthly payment required hereunder.

               6.      The foreclosure proceedings instituted were stayed by the filing of the instant

Chapter 13 Petition.

               7.      As of May 8, 2020, Debtor has failed to tender post-petition mortgage

payments for the months of March 2020 through May 2020. The monthly payment amount for the
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months of March 2020 through May 2020 is $617.09 each, for a total amount due of $1,851.27. The

next payment is due on or before June 1, 2020 in the amount of $617.09. Under the terms of the Note

and Mortgage, Debtor has a continuing obligation to remain current post-petition and failure to do so

results in a lack of adequate protection to Movant.

               8.      Movant, DEUTSCHE BANK NATIONAL TRUST COMPANY, AS

TRUSTEE FOR MORGAN STANLEY HOME EQUITY LOAN TRUST SERIES 2006-3,

requests the Court award reimbursement in the amount of $1,231.00 for the legal fees and costs

associated with this Motion.

               9.      Movant has cause to have the Automatic Stay terminated as to permit Movant

to complete foreclosure on its mortgage.

               10.     Movant specifically requests permission from the Honorable Court to

communicate with Debtor and Debtor's counsel to the extent necessary to comply with applicable

nonbankruptcy law.

               11.     Movant, it's successors and assignees posits that due to Debtor's continuing

failure to tender post-petition mortgage payments and the resulting and ever increasing lack of

adequate protection that said failure presents, sufficient grounds exist for waiver of Rule 4001(a)(3),

and that Movant, its successors or assignees should be allowed to immediately enforce and implement

the Order granting relief from the automatic stay.

               12.     PHH MORTGAGE CORPORATION services the underlying mortgage loan

and note for the property referenced in this Motion for Relief for DEUTSCHE BANK NATIONAL

TRUST COMPANY, AS TRUSTEE FOR MORGAN STANLEY HOME EQUITY LOAN TRUST

SERIES 2006-3 (the noteholder) and is entitled to proceed accordingly. Should the Automatic Stay be

lifted and/ or set aside by Order of this Court or if this case is dismissed or if the debtor obtains a

discharge and a foreclosure action is commenced or recommenced, said foreclosure action will be

conducted in the name of DEUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE

FOR MORGAN STANLEY HOME EQUITY LOAN TRUST SERIES 2006-3 (the noteholder).
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HOME EQUITY LOAN TRUST SERIES 2006-3 (the noteholder) has the right to foreclose because

Noteholder is the original mortgagee or beneficiary or assignee of the security instrument for the

referenced loan. Noteholder directly or through an agent has possession of the promissory note and the

promissory note is either made payable to Noteholder or has been duly endorsed.

               WHEREFORE, Movant respectfully requests that this Court enter an Order;

               a.      Modifying the Automatic Stay under Section 362 with respect to 428

LAUREL RD, LANSDOWNE, PA 19050 (as more fully set forth in the legal description attached to

the Mortgage of record granted against the Premises), as to allow Movant, its successors and

assignees, to proceed with its rights under the terms of said Mortgage; and

               b.      Movant specifically requests permission from this Honorable Court to

communicate with Debtor and Debtor's counsel to the extent necessary to comply with applicable

nonbankruptcy law; and

               c.      Holding that due to Debtor's continuing failure to tender post-petition mortgage

payments and the resulting and ever increasing lack of adequate protection that said failure presents,

sufficient grounds exist for waiver of Rule 4001(a)(3), and that Movant, its successors or assignees,

should be allowed to immediately enforce and implement the Order granting relief from the automatic

stay; and

               d.      Granting any other relief that this Court deems equitable and just.

                                                     /s/ Jerome Blank, Esquire
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